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UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA

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CHAPTER 13 PLAN (Individual Adjustment of Debts)

 

 

 

 

C] Original Plan
[a] 2nd Amended Plan (Indicate Ist, 2nd, etc. Amended, if applicable)
C] Modified Plan (Indicate Ist, 2nd, etc. Modified, if applicable)
DEBTOR: Sergio Papatolios JOINT DEBTOR: CASE NO.: 22-16437 .
SS#! XXX-XX- 5277 __ SS#: XXX-XX-
I. NOTICES
To Debtors: Plans that do not comply with local rules and judicial rulings may not be confirmable, All plans, amended plans and

modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to Local
Rules 2002-1 (C)(5), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of filing
the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.

To Creditors: Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
be reduced, modified or eliminated.

To All Parties: The plan contains no nonstandard provisions other than those set out in paragraph IX. Debtor(s) must check one box
on each line listed below in this section to state whether the plan includes any of the following:

 

 

 

 

The valuation of a secured claim, set out in Section II, which may result ina [1 Included [i] Not included
partial payment or no payment at all to the secured creditor

Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set [] Included (]_ Not included
out in Section Il

Nonstandard provisions, set out in Section TX [-] Included fg] Not included

 

 

 

 

I. PLAN PAYMENTS, LENGTH OF PLAN AND DEBTOR(S)' ATTORNEY'S FEE

A. MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
fees of 10%, beginning 30 days from the filing/conversion date, In the event the trustee does not retain the full 10%, any unused
amount will be paid to unsecured nonpriority creditors pro-rata under the plan:

 

 

1. ($274.30 formonths 1 to_7_ ;
2. $319.03 for months 8  to_60_;
3. _$0.00 forinonths —s_ to
B. DEBTOR(S)' ATTORNEY'S FEE: ["] NONE [_] PRO BONO
Total Fees: $4,150.00 Total Paid: $2,175.00 Balance Due: $1,975.00
Payable $246.87 ‘month (Months 1 to 8 )

Allowed fees under LR 2016-I(B)(2) are itemized below:
Chapter 13 Case $3500, $650 2 Motions to Avoid Lien

 

 

Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.
WW. TREATMENT OF SECURED CLAIMS [_] NONE

A. SECURED CLAIMS: [8] NONE
B. VALUATION OF COLLATERAL: [i] NONE
C. LIEN AVOIDANCE [] NONE

Judicial liens or nonpossessory, nonpurchase money security interests securing the claims will be avoided to the extent that they

impair the exemptions under 11 U.S.C. § 522 as listed below. A separate motion will also be served pursuant to BR 7004 and LR
3015-3.

 

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IV.

VI.
VII.

VUI.

IX.

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Debtor(s): Sergio Papatolios Case number: 22-16437

 

 

1. Creditor: Cavalry (SPV) I (LLC) Collateral: 20 NW 161 Street
Miami, FL 33169

 

Address: 500 Summit Lake Drive

 

 

 

 

 

 

 

Suite 500 Exemption: 11 U.S.C. § 522
Last 4 Digits of Account No.:
2. Creditor: Discovery Bank Collateral: 20 NW 161 Street
Miami, FL 33169
Address: Po Box 3025
New Albany, OH 43054 Exemption: 11 U.S.C. § 522

 

 

Last 4 Digits of Account No.:

 

D. SURRENDER OF COLLATERAL: — [Bi] NONE
E. DIRECT PAYMENTS [] NONE

Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution from the Chapter 13 Trustee.
The debtor(s) elect to make payments directly to each secured creditor listed below. The debtor(s) request that upon
confirmation of this plan the automatic stay be terminated in rem as to the debtor(s) and in rem and in personam as to any
codebtor(s) as to these creditors. Nothing herein is intended to terminate or abrogate the debtor(s)’ state law contract rights.

 

 

Name of Creditor Last 4 Digits of Account No. Description of Collateral (Address, Vehicle, etc.)
Freedom Mortgage 2916 20 NW I61 Street
1. Corporation Miami, FL 33169
Hudson Sl 4000 20.NW 161 Street
2. Miami, FL 33169
U.S. Department of Housing 5056 20.NW 16] Street
3. and Urban Development Miami, FL 33169

 

TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in 11 U.S.C. §507 and I1 U.S.C. § 1322(a)(4)] ie] NONE
TREATMENT OF UNSECURED NONPRIORITY CREDITORS [| NONE
A, Pay $287.12 ‘month (Months 9 to 60 )

Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.

B. [@ If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.

C. SEPARATELY CLASSIFIED: [i] NONE
STUDENT LOAN PROGRAM [i] NONE
EXECUTORY CONTRACTS AND.UNEXPIRED LEASES [a] NONE
INCOME TAX RETURNS AND REFUNDS:

[a] Debtor(s) will not provide tax returns unless requested by any interested party pursuant to 11 U.S.C. § 521.

NON-STANDARD PLAN PROVISIONS [i] NONE

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Debtor(s): Sergio Papatolios Case number: 22-16437
PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONF IRMATION.

I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.

/s/ Sergio Papatolios Debtor 11/8/2022 Joint Debtor

Sergio Papatolios Date Date

/s/ Ricardo Corona, Esq. 11/8/2022

 

. . . Date
Attorney with permission to sign on

Debtor(s) behalf who certifies that
the contents of the plan have been
reviewed and approved by the

Debtor(s). 1

By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
contains no nonstandard provisions other than those set out in paragraph TX,

I This certification requirement applies even if the Debtor(s) have executed a limited power of attorney to Debtor(s)! attorney authorizing the
attorney to. sign documents on the Debtor(s)’ behalf.

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